
ORDER ON MANDATE
PER CURIAM.
Whereas, the judgment of this court was entered on February 17, 1970 (Fla.App., 231 So.2d 240) affirming the judgment of the Circuit Court for Dade County, in the above styled cause; and
Whereas, on review of this court’s judgment, by certiorari, the Supreme Court of Florida, by its opinion and judgment filed March 24, 1971, Fla., 246 So.2d 563, and mandate dated April 26, 1971, quashed this court’s judgment with directions to reverse the judgment of the trial court and for further proceedings not inconsistent with the said opinion and judgment of the Supreme Court of Florida;
Now, therefore, it is ordered that the mandate of this court heretofore issued in this cause on March 5, 1970 is withdrawn, the opinion and judgment of this court filed in this cause on February 17, 1970 is vacated, the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court and the judgment of the circuit court appealed from is reversed and the cause is remanded for further proceedings not inconsistent with the opinion and judgment of the Supreme Court of Florida. Costs allowed shall be taxed in the circuit court (Rule 3.16(b) Florida Appellate Rules, 32 F.S.A.). '
